    Case: 1:16-cv-00511-TSB Doc #: 7 Filed: 05/17/16 Page: 1 of 1 PAGEID #: 66



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO

ARcare d/b/a Parkin Drug Store, on behalf )
of itself and all others similarly situated, )         Case No. 1:16-cv-00511-TSB
                                             )
                     Plaintiff,              )         Judge Timothy S. Black
                                             )
       v.                                    )
                                             )
MASTERS PHARMACEUTICALS, INC. )
                                             )
                     Defendant.              )

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

       Plaintiff ARcare d/b/a Parkin Drug Store (“Plaintiff”) hereby provides notice that,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), it voluntarily dismisses all of its claims against

Defendant Masters Pharmaceuticals, Inc., without prejudice.



DATED: May 17, 2016                         Respectfully submitted,

                                    By:     /s/    Matthew R. Wilson

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